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                                                   UNITED STATES DISTRICT COURT
                   14                               FOR THE DISTRICT OF ARIZONA
                   15   D.T., a minor, by and through his parent        Case No. __________
                   16
                        and next friend Lizette Trujillo; Jane Doe, a
                        minor, by and through her parent and next       JANE DOE AND HELEN ROE’S MOTION
                   17
                        friend Susan Doe; and Helen Roe, a minor,       TO PROCEED UNDER A PSEUDONYM
                        by and through her parent and next friend
                   18
                        Megan Roe,

                   19
                                          Plaintiffs,

                   20
                               v.

                   21
                        Dr. Cara M. Christ, in her official capacity
                        as State Registrar of Vital Records and
                   22
                        Director of the State of Arizona’s
                        Department of Health Services; Thomas
                   23
                        Salow, in his official capacity as Branch
                        Chief of the State of Arizona’s Division of
                   24
                        Public Health Licensing Services at the
                        Department of Health Services; and Krystal
                   25
                        Colburn, in her official capacity as Bureau
                        Chief and Assistant State Registrar of the
                   26
                        State of Arizona’s Bureau of Vital Records,

                   27
                                          Defendants.

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                    1   I.       INTRODUCTION
                    2            Pursuant to Federal Rule of Civil Procedure 5.2(e), Plaintiffs Jane Doe and Helen
                    3   Roe, by and through their respective parents, Susan Doe and Megan Roe, request this
                    4   Court’s leave to proceed using pseudonyms for themselves and their parents to protect their
                    5   identities from public disclosure. 1
                    6            As discussed below, Jane and Helen meet each element of the Ninth Circuit’s
                    7   standard for allowing a plaintiff to proceed anonymously. Because Jane and Helen are
                    8   especially vulnerable to severe harm if required to disclose their identities, their “need for
                    9   anonymity outweighs” any “prejudice to the opposing party” caused by allowing them to
                   10   proceed anonymously and “the public’s interest in knowing” their identity. Publius v.
                   11   Boyer-Vine, 321 F.R.D. 358, 361 (E.D. Cal. 2017).
                   12   II.      ARGUMENT
                   13            The Ninth Circuit permits “parties to use pseudonyms . . . when nondisclosure of the
                   14   party’s identity is necessary to protect a person from harassment, injury, ridicule or personal
                   15   embarrassment.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1067–68
                   16   (9th Cir. 2000) (cleaned up). Whether to permit a party to proceed under a pseudonym
                   17   requires balancing three factors—“(1) the severity of the threatened harm; (2) the
                   18   reasonableness of the anonymous party’s fears; and (3) the anonymous party’s vulnerability
                   19   to such retaliation”—against “the general presumption that parties’ identities are public
                   20   information.” Doe v. Ayers, 789 F.3d 944, 945 (9th Cir. 2015) (quoting Advanced Textile
                   21   Corp., 214 F.3d at 1068). “Applying this balancing test, courts have permitted plaintiffs to
                   22   use pseudonyms . . . when identification creates a risk of retaliatory physical or mental
                   23   harm” or “when anonymity is necessary to preserve privacy in a matter of sensitive and
                   24   highly personal nature.” Advanced Textile Corp., 214 F.3d at 1068 (citation omitted).
                   25            “[W]hen the party’s need for anonymity outweighs prejudice to the opposing party
                   26   and the public’s interest in knowing the party’s identity,” that party may proceed
                   27
                        1 Counsel for Plaintiffs conferred several times with attorneys at the State of Arizona
                   28   Attorney General’s office to request Defendants’ position on this Motion. Defendants did
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                        not provide their position.
ATTORNEYS AT LAW                                                                   JANE DOE AND HELEN ROE’S
 SAN FRANCISCO                                                      1                         MOT. TO PROCEED
                                                                                           UNDER A PSEUDONYM
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                    1   anonymously. Publius, 321 F.R.D. at 361. “The decision of whether or not to allow a party
                    2   to remain anonymous is within” a district court’s “discretion and will not be reversed unless
                    3   the [district c]ourt relies on an erroneous view of the law, makes an erroneous assessment
                    4   of the evidence, or strikes an unreasonable balance of the relevant factors.” Id.
                    5          Here, Jane and Helen reasonably fear severe harm in the form of lost privacy,
                    6   discrimination, and harassment if forced to publicly disclose their names and consequently
                    7   their transgender identity as part of this litigation. That disclosure would also undermine
                    8   the very constitutional interests they seek to safeguard through this litigation. They are
                    9   particularly vulnerable to this type of harm as transgender youth. Defendants will suffer no
                   10   prejudice by allowing Jane and Helen to proceed anonymously because they do not intend
                   11   to withhold their identities from Defendants (which will be disclosed under an appropriate
                   12   protective order) or the Court (which may be disclosed in sealed submissions), and allowing
                   13   them to proceed anonymously is in the public interest. As such, the Court should exercise
                   14   its discretion to grant Jane and Helen, and their parents Susan Doe and Megan Roe, leave
                   15   to proceed under pseudonyms. 2
                   16          A.     Jane Doe and Helen Roe reasonably fear severe harm if their identities
                   17                 were to become public.

                   18          “In order to proceed anonymously, a plaintiff must show both (1) a fear of severe
                   19   harm, and (2) that the fear of severe harm is reasonable.” Doe v. Kamehameha Sch./Bernice
                   20   Pauahi Bishop Estate, 596 F.3d 1036, 1043 (9th Cir. 2010); see also id. (noting that these
                   21   two showings are “intricately related and should be addressed together”). A harm is
                   22   sufficiently “severe” to allow a plaintiff to proceed anonymously where she “face[s] greater
                   23   threats of retaliation than the typical [] plaintiff” in civil litigation would. Advanced Textile
                   24   Corp., 214 F.3d at 1070–71 (alterations omitted). The threatened retaliatory harm does not
                   25

                   26   2 The Court should also grant Susan Doe and Megan Roe leave to proceed under
                        pseudonyms because identifying them would inexorably expose the identities of their
                   27   children. Therefore, Ms. Doe and Ms. Roe should remain anonymous for the same reasons
                        that their daughters, Jane and Helen, warrant the protection of pseudonyms. See Doe ex rel.
                   28   Doe 2 v. Elmbrook Sch. Dist., 658 F.3d 710, 724 (7th Cir. 2011), vacated on other grounds,
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                        687 F.3d 840, 842–43 (7th Cir. 2012).
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                                                                                             UNDER A PSEUDONYM
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                    1   need to be physical in nature. For example, the Ninth Circuit has recognized the loss of
                    2   privacy “in a matter of [a] sensitive and highly personal nature” as a harm that can
                    3   necessitate allowing a plaintiff to proceed anonymously. Id. at 1068 (quoting James v.
                    4   Jacobson, 6 F.3d 233, 238 (4th Cir. 1993)); see also United States v. Doe, 655 F.2d 920,
                    5   922 n.1 (9th Cir. 1980) (“Where it is necessary, however, to protect a person from
                    6   harassment, . . . ridicule or personal embarrassment, courts have permitted the use of
                    7   pseudonyms.”). A loss of privacy harm is likely to be especially severe where, as here, the
                    8   plaintiff is “compelled . . . to disclose information of the utmost intimacy.” Doe v. Stegall,
                    9   653 F.2d 180, 185 (5th Cir. 1981).
                   10          Courts “have long recognized that the harms arising from disclosing a person’s
                   11   transgender status are among those that make protection by pseudonym appropriate.” See,
                   12   e.g., Doe v. Pa. Dep’t of Corr., No. 19-CV-01584, 2019 WL 5683437, at *2 & nn.12–13
                   13   (M.D. Pa. Nov. 1, 2019) (collecting cases); see also Doe v. City of Detroit, No. 18-CV-
                   14   11295, 2018 WL 3434345, at *2 (E.D. Mich. July 17, 2018) (“Several courts have held that
                   15   an individual’s transgender identity can carry enough of a social stigma to overcome the
                   16   presumption in favor of disclosure.”). This is so because “[t]he excruciatingly private and
                   17   intimate nature of transsexualism, for persons who wish to preserve privacy in the matter,
                   18   is really beyond debate.” Powell v. Schriver, 175 F.3d 107, 111 (2d Cir. 1999). Courts also
                   19   regularly extend this protection to guardians and next kin in cases involving transgender
                   20   youth. See, e.g., Highland Local Sch. Dist. v. U.S. Dep’t of Educ., No. 2:16-CV-524, 2016
                   21   WL 4269080, at *5 (S.D. Ohio Aug. 15, 2016); Doe v. United States, No. 16-CV-0640-
                   22   SMY-DGW, 2016 WL 3476313, at *1 (S.D. Ill. June 27, 2016).
                   23          Requiring Jane and Helen to disclose their identities as part of this litigation—and,
                   24   by extension, the fact that they are transgender—will cause severe harm. Jane was the target
                   25   of persistent bullying and harassment at school that continued over multiple school years,
                   26   exacerbated by one student discovering that Jane is transgender by seeing her class’s
                   27   attendance sheet. (Declaration of Jane Doe (“Jane Decl.”) ¶¶ 4–9; Declaration of Susan
                   28   Doe (“Susan Decl.”) ¶¶ 15–19.) The emotional and academic toll on Jane has been so
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 SAN FRANCISCO                                                        3                       MOT. TO PROCEED
                                                                                            UNDER A PSEUDONYM
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                    1   severe that her parents seek to enroll her in a new school so she can once again attend school
                    2   without everyone knowing she is transgender. (Jane Decl. ¶ 12; Susan Decl. ¶¶ 19–23.)
                    3   Helen has also dealt with inappropriate behavior from peers because she is transgender,
                    4   even though she only six years old. Helen reported numerous occasions of students asking
                    5   her inappropriate questions about her body. (Declaration of Megan Roe (“Megan Decl.”)
                    6   ¶¶ 9–10.) She is understandably—and entitled to be—private about that information. (Id.
                    7   ¶ 14.) Those questions caused her significant discomfort and she remains anxious about
                    8   others finding out that she is transgender. (Id. ¶¶ 12, 14.)
                    9          Having to share that they are transgender and the intimate details of their gender
                   10   dysphoria in the public record will only exacerbate the emotional distress Jane and Helen
                   11   already face. (Susan Decl. ¶ 30; Megan Decl. ¶ 14; Declaration of Dr. Linda Hawkins
                   12   (“Hawkins Decl.”) ¶¶ 37, 42–47; Declaration of Dr. Daniel Shumer (“Shumer Decl.”)
                   13   ¶¶ 28, 47.) They also fear the response from their peers and members of the public. (Jane
                   14   Decl. ¶¶ 13–15; Megan Decl. ¶¶ 12, 14.) Not only could this information fuel harassment
                   15   from Jane’s classmates, but it would also deny her the opportunity enter a new school where
                   16   her peers do not know—and cannot reasonably find out—that she is transgender. (Susan
                   17   Decl. ¶ 22.) Helen also worries about her peers’ and community’s response; after Helen
                   18   transitioned, she and her family were targeted with harassment and mistreatment by
                   19   members of their community. (Megan Decl. ¶¶ 14–15.) And as a transgender female of
                   20   color, she is both more likely to experience discrimination and harassment and more likely
                   21   face its most serious form, physical violence. (Megan Decl. ¶ 13; Hawkins Decl. ¶ 38.)
                   22          Being a party to this lawsuit will also require Jane and Helen to disclose private
                   23   information about their medical and mental health care, amplifying the importance of
                   24   proceeding under a pseudonym.           See Powell, 175 F.3d at 111 (recognizing “[t]he
                   25   excruciatingly private and intimate nature of transsexualism”); Doe v. Blue Cross & Blue
                   26   Shield of R.I., 794 F. Supp. 72, 74 (D.R.I. 1992) (holding transgender “plaintiff’s privacy
                   27   interest is both precious and fragile, and this [c]ourt will not cavalierly permit its invasion”).
                   28   Because Arizona requires transgender people to undergo certain types of care as a
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                                                                                              UNDER A PSEUDONYM
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                    1   prerequisite to correcting their birth certification, Jane and Helen must provide evidence
                    2   that they have not—and cannot—meet that requirement. (Compl. ¶¶ 5, 42–44; Shumer
                    3   Decl. ¶ 40; Susan Decl. ¶ 25.) As such, intimate details about their physical and mental
                    4   health will be in the record and publicly associated with them in perpetuity if they are not
                    5   allowed to proceed anonymously. In other words, the type of information that will be at
                    6   issue at this litigation is “of the utmost intimacy,” Stegall, 653 F.2d at 185, and thus
                    7   “anonymity is necessary to preserve privacy in” this matter of a “sensitive and highly
                    8   personal nature,” Advanced Textile Corp., 214 F.3d at 1068 (quoting James, 6 F.3d at 238).
                    9          Moreover, Jane and Helen’s fear of lost privacy, discrimination, and harassment is
                   10   reasonable. As the Seventh Circuit has observed, “[t]here is no denying that transgender
                   11   individuals face discrimination, harassment, and violence because of their gender identity.”
                   12   Whitaker By Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034,
                   13   1051 (7th Cir. 2017); Arroyo Gonzalez v. Rossello Nevares, 305 F. Supp. 3d 327, 333
                   14   (D.P.R. 2018) (finding that forcing transgender people “to disclose their transgender
                   15   status . . . . exposes [them] to a substantial risk of stigma, discrimination, intimidation,
                   16   violence, and danger.”). Numerous studies support the Whitaker court’s observation. For
                   17   example, the Whitaker court itself cited a 2011 survey which found that “78% of students
                   18   who identify as transgender or as gender non-conformant[] report being harassed while in
                   19   grades K-12.” 858 F.3d at 1051 (citing Jaime M. Grant et al., Injustice at Every Turn: A
                   20   Report of the National Transgender Discrimination Survey, Nat’l Center for Transgender
                   21   Equality,       at 33        (2011),            http://www.transequality.org/sites/default/files/
                   22   docs/resources/NTDS_Report.pdf.). Likewise, a 2017 national school climate survey found
                   23   that more than 60% of respondents in Arizona reported verbal harassment based on gender
                   24   expression and more than a quarter reported experiencing physical harassment and hearing
                   25   negative remarks about transgender people. GLSEN, School Climate in Arizona (State
                   26   Snapshot),      at      1         (2019),        https://www.glsen.org/sites/default/files/2019-
                   27   11/Arizona_Snapshot_2017_2.pdf; see also, Sandy E. James et al., The Report of the 2015
                   28   U.S.   Transgender      Survey,     at      4   (2016),   https://transequality.org/sites/default/
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 SAN FRANCISCO                                                           5                       MOT. TO PROCEED
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                    1   files/docs/usts/USTS-Full-Report-Dec17.pdf (survey of nearly 28,000 transgender
                    2   individuals from across the United States found “high levels of mistreatment, harassment,
                    3   and violence in every aspect of life.”).
                    4          In sum, Jane and Helen reasonably fear discrimination and harassment directed at
                    5   them and their families if their identities are disclosed to the public. (Jane Decl. ¶ 15; Susan
                    6   Decl. ¶¶ 30–31; Megan Decl. ¶¶ 14–15.) The attendant loss of privacy will also cause Jane
                    7   and Helen significant psychological harm and distress if the intimate details of their medical
                    8   and mental health care are connected to them in publicly available documents. (Hawkins
                    9   Decl. ¶ 42; Susan Decl. ¶¶ 22–26, 30; Megan Decl. ¶¶ 12, 14.)
                   10          B.     Transgender youth, like Jane and Helen, are particularly vulnerable to
                   11                 harm from the disclosure of their identities.

                   12          “[T]he anonymous party’s vulnerability to” the harm they fear is a third factor a court
                   13   considers in determining whether proceeding anonymously is appropriate. Ayers, 789 F.3d
                   14   944, 945. Jane and Helen are particularly vulnerable to the harm they fear for two reasons:
                   15   their young age and, as discussed above, unlike most litigants, transgender individuals are
                   16   a target of pervasive harassment and discrimination in our society. See Section II.A, supra.
                   17   Recognizing that many state laws “shield[] the identities of child-litigants from public
                   18   disclosure in certain circumstances, . . . the youth of” plaintiffs is often “a significant factor
                   19   in the matrix of considerations arguing for anonymity.” Stegall, 653 F.2d at 186 (finding
                   20   the plaintiffs’ youth to be an “especially persuasive” factor justifying anonymity); see also
                   21   Al Otro Lado, Inc. v. Nielsen, No. 17-CV-02366-, 2017 WL 6541446, at *5 (S.D. Cal. Dec.
                   22   20, 2017) (“[C]hild-plaintiffs are deemed to be especially vulnerable, warranting their
                   23   anonymity.”). That Jane and Helen belong to two groups that are particularly vulnerable to
                   24   harm weighs strongly in favor of anonymity in this case.
                   25          C.     Proceeding under a pseudonym is essential to safeguarding the rights
                   26                 that Jane and Helen seek to protect in this litigation.

                   27          Denying Jane and Helen’s request to proceed pseudonymously would also have the
                   28   paradoxical effect of destroying the very constitutional interests they seek to vindicate as
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                    1   plaintiffs in this litigation. Courts have consistently permitted parties asserting privacy
                    2   claims to proceed pseudonymously. See, e.g., Doe v. Alaska, No. 96-35873, 1997 WL
                    3   547941, at *1 (9th Cir. Aug. 9, 1997); U.S. Dep’t of Justice v. Utah Dep’t of Commerce,
                    4   No. 16-cv-611, 2017 WL 963203, at *1 (D. Utah Mar. 20, 2017); M.J. v. Jacksonville Hous.
                    5   Auth., No. 11-cv-771, 2011 WL 4031099, at *3 (M.D. Fla. Sept. 12, 2011). Here, Jane and
                    6   Helen filed this lawsuit to vindicate their constitutional right to privacy, among other
                    7   constitutional rights. (Compl. ¶¶ 6, 79–100.) Forcing them to proceed by their real names
                    8   would undermine the relief Jane and Helen seek though this litigation by disclosing their
                    9   transgender status—the very information they are entitled to keep private.
                   10         D.     Allowing Jane and Helen to proceed anonymously will not prejudice
                   11                Defendants and is in the public interest.

                   12         Courts must balance the factors in favor of anonymity against the prejudice that a
                   13   defendant might suffer as a result and determine whether allowing the plaintiff to proceed
                   14   anonymously serves the public interest. Ayers, 789 F.3d at 945; Publius, 321 F.R.D. at 361.
                   15   The defendant’s knowledge of the plaintiff’s identity “lessens” any claims the defendant
                   16   can make that it is “prejudiced by the use of pseudonyms.” Advanced Textile, 214 F.3d at
                   17   1069 n.11, because this knowledge gives a defendant “the information [it] need[s] to defend
                   18   against the claims” brought against it, Al Otro Lado, Inc., 2017 WL 6541446, at *6.
                   19         Additionally, though the public has a “right to open courts,” it also “has an interest
                   20   in seeing” cases involving important issues “decided on the merits.” Kamehameha Sch.,
                   21   596 F.3d at 1042–43 (quoting Advanced Textile, 214 F.3d at 1073). In these cases,
                   22   “permitting plaintiffs to use pseudonyms” can “serve the public’s interest in th[e] lawsuit
                   23   by enabling it to go forward.” Advanced Textile, 214 F.3d at 1073. This is especially true
                   24   in cases “[w]here a plaintiff attacks governmental activity, for example a governmental
                   25   policy or statute,” because “[i]n such circumstances the plaintiff presumably represents a
                   26   minority interest (and may be subject to stigmatization), and there is arguably a public
                   27   interest in a vindication of his rights.” EW v. N.Y. Blood Ctr., 213 F.R.D. 108, 111
                   28   (E.D.N.Y. 2003) (citation omitted).
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                    1          Here, Jane and Helen do not object to revealing their identity to Defendants under
                    2   an appropriate protective order and thereby giving Defendants the information they need to
                    3   defend against the claims in this suit. As such, Defendants will not be prejudiced if Jane
                    4   and Helen are permitted to proceed anonymously. See Advanced Textile, 214 F.3d at 1069
                    5   n.11. Similarly, because Jane and Helen are challenging Arizona’s requirements for
                    6   correcting the gender marker on birth certificates that effectively exclude them from
                    7   obtaining an accurate birth certificate, there is a public interest in the “vindication” of their
                    8   rights and in seeing this case “decided on the merits.” See Kamehameha Sch., 596 F.3d at
                    9   1043; N.Y. Blood Ctr., 213 F.R.D. at 111.
                   10   III.   CONCLUSION
                   11          Because Plaintiffs Jane Doe and Helen Roe are especially vulnerable to severe harm
                   12   in the form of “harassment, . . . ridicule or personal embarrassment,” Advanced Textile
                   13   Corp., 214 F.3d at 1067–68, their “need for anonymity outweighs” any “prejudice to the
                   14   opposing party” or “the public’s interest in knowing” his identity, Publius, 321 F.R.D.
                   15   at 361. The Court should grant them and their parents leave to proceed under pseudonyms.
                   16          Respectfully submitted this 4th day of November, 2020.
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